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                        IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION

 ADAM ROSS,
           Plaintiff,                                CASE NO. 1:18-cv-01258-JRS-TAB

 v.

 BALL STATE UNIVERSITY,
           Defendant.

                                              ORDER

        The parties, by counsel, having filed their Joint Motion to Extend Dispositive Motions

 Deadline, and the Court being duly advised in the premises, finds that said Motion should be

 granted.

       IT IS THEREFORE ORDERED, ADJUDGED AND DECREED by the Court that the

 dispositive motions deadline is extended to the 23rd day of August, 2019.

       SO ORDERED.



 Date: 7/24/2019




 Service will be made electronically on all
 ECF-registered counsel of record via email
 generated by the court’s ECF system
